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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        LUFKIN DIVISION

LUNAREYE, INC.,                                  §
                                                 §
                      PLAINTIFF                  §
vs.                                              §      NO.      9:07-CV-00113
                                                 §
AIRIQ INC., AIRIQ US, INC., and                         Judge Ron Clark
                                                 §
CALAMP CORP.,
                                                 §
                      DEFENDANTS.                §
                                                 §

                             DEFENDANTS’ NOTICE OF REQUEST FOR A
                                CLAIM CONSTRUCTION HEARING

        Defendants AirIQ Inc., AirIQ U.S., Inc., and CalAmp Corp. (collectively, “Defendants”),

pursuant to the Court’s Amended Scheduling Order (Docket No. 101), hereby request a claim

construction hearing in this matter.


Dated: March 12, 2010.                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a)(3) on March 12, 2010. Any other counsel of record
will be served by First Class U.S. mail on this same date.
                                                    /s/ V. Ajay Singh
                                                    Vincent Ajay Singh




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